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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

DANIEL WILLIAM RUDD,
    Plaintiff,

v                                              No. 1:18-cv-124

THE CITY OF NORTON SHORES,                     HON. GORDON J. QUIST
MAYOR GARY NELUND, individually
and in his official capacity,                  MAG. RAY KENT
POLICE CHIEF DANIEL SHAW,
individually and in his official capacity,
SERGEANT MATTHEW RHYNDRESS,
individually and in his official capacity,
OFFICER MICHAEL WASSILEWSKI,
individually and in his official capacity,
MARK MEYERS, individually and as city
manager,
____

F/LT. CHRIS MCINTIRE, Michigan State
Police only in his individual capacity;
____

ATTORNEY DOUGLAS HUGHES,
individually and acting on behalf of his law
firm,
WILLIAM HUGHES, PLLC, a Michigan
law firm,
____

ATTORNEY MELISSA MEYERS,
individually and acting on behalf of her
law firm,
ATTORNEY MICHELLE MCLEAN,
individually and acting on behalf of her
law firm,
ATTORNEY JOEL BAAR, individually
and acting on behalf of his law firm,
BOLHOUSE, BAAR & HOFSTEE PC, a
Michigan law firm,
     Defendants.
 Case 1:18-cv-00124-GJQ-RSK ECF No. 49 filed 06/21/18 PageID.319 Page 2 of 2




                            CERTIFICATE OF SERVICE

        I hereby certify that on June 21, 2018, I electronically filed Defendant

McIntire’s Opposition To Motion For Sur-Reply To Motion To Dismiss with the

Clerk of the Court using the ECF System, which will provide electronic copies to

counsel of record, and provided a copy to Defendant Melissa Meyers by first-class

mail at Tanis Schultz PLLC, 85 Campau Ave NW Ste R305, Grand Rapids, MI

49503-2611.




                                                /s/ Monica Robinson
                                                Monica Robinson

AG# 2018-0212454-A
